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                                         Highland Capital Management Fund Advisors, L.P.

                                                              CLOs Review

CLO           Enforcement Rights         Obligation Regarding                Removal Rights                           Requisite Threshold
                                         Collateral                                                                   For Removal Rights

Aberdeen      Requisite percentage of    The Servicer must seek to
                                                                             No removal without cause. Removal        Majority of Voting
Loan          Preference Shares          preserve the value of the
                                                                             for cause permitted by Majority of       Preference Share
Funding,      Holders may enforce        Collateral for the benefit of the
                                                                             Voting Preference Shares Holders         Holders. SA § 14.
Ltd.          obligations under          securities holders. SA § 2(b).
                                                                             directing the Trustee, upon 10 days’
              Servicing Agreement of
                                                                             notice. SA § 14. For cause removal
              Servicer, as provided in
                                                                             may be effected in connection with the
              the Indenture or
                                                                             Servicer breaching the servicing
              Preference Shares Paying
                                                                             agreement by not preserving the value
              Agency Agreement. SA
                                                                             of the Collateral. SA § 2(b).
              § 9.




Brentwood     Requisite percentage of    The Servicer must seek to           No removal without cause. Removal        Majority of Voting
CLO, Ltd.     Preference Shares          preserve the value of the           for cause permitted by Majority of       Preference Share
              Holders may enforce        Collateral for the benefit of the   Voting Preference Shares Holders         Holders. SA § 14.
              obligations under          securities holders. SA § 2(b).      directing the Issuer, upon 10 days’
              Servicing Agreement of                                         notice. SA § 14. For cause removal
              Servicer, as provided in                                       may be effected in connection with the
              the Indenture or                                               Servicer breaching the servicing
              Preference Share Paying                                        agreement by not preserving the value
              Agency Agreement. SA                                           of the Collateral. SA § 2(b).
              § 9.




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                                                                                                                                 Exhibit 3
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CLO           Enforcement Rights         Obligation Regarding                Removal Rights                             Requisite Threshold
                                         Collateral                                                                     For Removal Rights


Eastland      Requisite percentage of    The Servicer must seek to           No removal without cause. Removal          Majority of Voting
CLO, Ltd.     Preference Shares          preserve the value of the           for cause permitted by Majority of         Preference Share
              Holders may enforce        Collateral for the benefit of the   Voting Preference Shares Holders           Holders. SA § 14.
              obligations under          securities holders. SA § 2(b).      directing the Issuer, upon 10 days’
              Servicing Agreement of                                         notice. SA § 14. For cause removal
              Servicer, as provided in                                       may be effected in connection with the
              the Indenture or                                               Servicer breaching the servicing
              Preference Share Paying                                        agreement by not preserving the value
              Agency Agreement. SA                                           of the Collateral. SA § 2(b).
              § 9.




Gleneagles    Requisite percentage of    The Portfolio Manager must          Removal without cause permitted by         66 2/3% of Preference
CLO, Ltd.     Preference Shares          seek to maximize the value of       66 2/3% of Preference Shares Holders       Shares Holders. PMA
              Holders may enforce        the Collateral for the benefit of   (excluding Preference Shares held by       § 12(c).
              obligations under          the Preference Shares holders.      the Portfolio Manager and affiliates, or
              Portfolio Management       PMA § 2(b).                         for which they have discretionary
              Agreement of Portfolio                                         voting authority) directing the Issuer,
              Manager, as provided in                                        upon 90 days’ notice. PMA § 12(c).
              the Indenture or
              Preference Share Paying                                        The Portfolio Manager may avoid
              Agency Agreement.                                              removal by purchasing all Preference
              PMA § 9.                                                       Shares voting for removal (and
                                                                             Preference Shares not voting for
                                                                             removal but seeking to sell) at the
                                                                             Buy-out Amount (i.e., 12% IRR since
                                                                             the Closing Date). PMA § 12(c).

                                                                             For cause removal may be effected in
                                                                             connection with the Portfolio Manager

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CLO           Enforcement Rights         Obligation Regarding                Removal Rights                           Requisite Threshold
                                         Collateral                                                                   For Removal Rights
                                                                             breaching the portfolio management
                                                                             agreement by not maximizing the
                                                                             value of the Collateral. PMA § 2(b).



Grayson       Requisite percentage of    The Servicer must seek to           No removal without cause. Removal        Majority of Voting
CLO, Ltd.     Preference Shares          preserve the value of the           for cause permitted by Majority of       Preference Share
              Holders may enforce        Collateral for the benefit of the   Voting Preference Shares Holders         Holders. SA § 14.
              obligations under          securities holders. SA § 2(b).      directing the Issuer, upon 10 days’
              Servicing Agreement of                                         notice. SA § 14. For cause removal
              Servicer, as provided in                                       may be effected in connection with the
              the Indenture or                                               Servicer breaching the servicing
              Preference Share Paying                                        agreement by not preserving the value
              Agency Agreement. SA                                           of the Collateral. SA § 2(b).
              § 9.



Greenbriar    Requisite percentage of
                                         The Servicer must seek to           No removal without cause. Removal        Majority of Voting
CLO, Ltd.     Preference Shares
                                         preserve the value of the           for cause permitted by Majority of       Preference Share
              Holders may enforce
                                         Collateral for the benefit of the   Voting Preference Shares Holders         Holders. SA § 14.
              obligations under
                                         securities holders. SA § 2(b).      directing the Trustee, upon 10 days’
              Servicing Agreement of
                                                                             notice. SA § 14. For cause removal
              Servicer, as provided in
                                                                             may be effected in connection with the
              the Indenture. SA § 9.
                                                                             Servicer breaching the servicing
              The Indenture references
                                                                             agreement by not preserving the value
              a Preference Shares
                                                                             of the Collateral. SA § 2(b).
              Paying Agency
              Agreement. Indenture
              § 1.1 (Definitions--
              Preference Share
              Documents).


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CLO           Enforcement Rights         Obligation Regarding                Removal Rights                             Requisite Threshold
                                         Collateral                                                                     For Removal Rights



Jasper CLO,   Requisite percentage of    The Portfolio Manager must          Removal without cause permitted by         66 2/3% of Preference
Ltd.          Preference Shares          seek to maximize the value of       66 2/3% of Preference Shares Holders       Shares Holders. PMA
              Holders may enforce        the Collateral for the benefit of   (excluding Preference Shares held by       § 12(a).
              obligations under          the Preference Shares holders.      the Portfolio Manager and affiliates, or
              Portfolio Management       PMA § 2(b).                         for which they have discretionary
              Agreement of Portfolio                                         voting authority) directing the Issuer,
              Manager, as provided in                                        upon 90 days’ notice. PMA § 12(a).
              the Indenture or
              Preference Share Paying                                        The Portfolio Manager may avoid
              Agency Agreement.                                              removal by purchasing all Preference
              PMA § 9.                                                       Shares voting for removal (and
                                                                             Preference Shares not voting for
                                                                             removal but seeking to sell) at the
                                                                             Buy-out Amount (i.e., 15% IRR since
                                                                             the Closing Date). PMA § 12(a).

                                                                             For cause removal may be effected in
                                                                             connection with the Portfolio Manager
                                                                             breaching the portfolio management
                                                                             agreement by not maximizing the
                                                                             value of the Collateral. PMA § 2(b).


Liberty       Requisite percentage of    The Portfolio Manager must          Removal without cause permitted by         66 2/3% of Class E
CLO, Ltd.     Class E Certificates       seek to maximize the value of       66 2/3% of Class E Certificates            Certificates Holders.
              Holders may enforce        the Collateral for the benefit of   Holders (excluding Class E                 PMA § 12(c).
              obligations under          the Class E Certificates            Certificates held by the Portfolio
              Portfolio Management       holders. PMA § 2(b).                Manager and affiliates, or for which
              Agreement of Portfolio                                         they have discretionary voting
              Manager, as provided in                                        authority) directing the Issuer, upon 90
              the Indenture or Class E                                       days’ notice. PMA § 12(c).

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CLO           Enforcement Rights         Obligation Regarding                Removal Rights                           Requisite Threshold
                                         Collateral                                                                   For Removal Rights
              Certificates Paying
              Agency Agreement.                                              The Portfolio Manager may avoid
              PMA § 9.                                                       removal by purchasing all Class E
                                                                             Certificates voting for removal (and
                                                                             Class E Certificates not voting for
                                                                             removal but seeking to sell) at the
                                                                             Buy-out Amount (i.e., 12% IRR since
                                                                             the Closing Date). PMA § 12(c).

                                                                             For cause removal may be effected in
                                                                             connection with the Portfolio Manager
                                                                             breaching the portfolio management
                                                                             agreement by not maximizing the
                                                                             value of the Collateral. PMA § 2(b).



Red River     Requisite percentage of    The Servicer must seek to           No removal without cause. Removal        Majority of Voting
CLO, Ltd.     Preference Shares          preserve the value of the           for cause permitted by Majority of       Preference Share
              Holders may enforce        Collateral for the benefit of the   Voting Preference Shares Holders         Holders. SA § 14.
              obligations under          securities holders. SA § 2(b).      directing the Issuer, upon 10 days’
              Servicing Agreement of                                         notice. SA § 14. For cause removal
              Servicer, as provided in                                       may be effected in connection with the
              the Indenture or                                               Servicer breaching the servicing
              Preference Share Paying                                        agreement by not preserving the value
              Agency Agreement. SA                                           of the Collateral. SA § 2(b).
              § 9.




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CLO           Enforcement Rights           Obligation Regarding                Removal Rights                            Requisite Threshold
                                           Collateral                                                                    For Removal Rights


Rockwall      Requisite percentage of      The Servicer must seek to           No removal without cause. Removal         66 2/3% of Voting
CDO Ltd.      Preferred Shares Holders     preserve the value of the           for cause permitted by 66 2/3% of         Preference Share
              may enforce obligations      Collateral for the benefit of the   Preferred Shares Holders (excluding       Holders. SA § 14.
              under Servicing              securities holders. SA § 2(b).      Preferred Shares held by the Servicer
              Agreement of Servicer, as                                        and affiliates, or for which they have
              provided in the Indenture.                                       discretionary voting authority, but HFP
              SA § 9.                                                          may vote Preferred Shares it owns up
                                                                               to the Original HFP Share Amount)
                                                                               directing the Issuer, upon 10 days’
                                                                               notice. SA § 14. For cause removal
                                                                               may be effected in connection with the
                                                                               Servicer breaching the servicing
                                                                               agreement by not preserving the value
                                                                               of the Collateral. SA § 2(b).



Rockwall      Requisite percentage of      The Servicer must seek to           No removal without cause. Removal         66 2/3% of Voting
CDO II Ltd.   Preferred Shares Holders     preserve the value of the           for cause permitted by 66 2/3% of         Preference Share
              may enforce obligations      Collateral for the benefit of the   Preferred Shares Holders (excluding       Holders. SA § 14.
              under Servicing              securities holders. SA § 2(b).      Preferred Shares held by the Servicer
              Agreement of Servicer, as                                        and affiliates, or for which they have
              provided in the Indenture.                                       discretionary voting authority, but HFP
              SA § 9.                                                          may vote Preferred Shares it owns up
                                                                               to the Original HFP Share Amount)
                                                                               directing the Issuer, upon 10 days’
                                                                               notice. SA § 14. For cause removal
                                                                               may be effected in connection with the
                                                                               Servicer breaching the servicing
                                                                               agreement by not preserving the value
                                                                               of the Collateral. SA § 2(b).


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CLO           Enforcement Rights        Obligation Regarding                Removal Rights                             Requisite Threshold
                                        Collateral                                                                     For Removal Rights



Southfork     Requisite percentage of   The Portfolio Manager must          Removal without cause permitted by         63% of Preference
CLO, Ltd.     Preference Shares         seek to maximize the value of       63% of Preference Shares Holders           Shares Holders. PMA
              Holders may enforce       the Collateral for the benefit of   (excluding Preference Shares held by       § 12(c).
              obligations under         the Preference Shares holders.      the Portfolio Manager and affiliates, or
              Portfolio Management      PMA § 2(b).                         for which they have discretionary
              Agreement of Portfolio                                        voting authority) directing the Issuer,
              Manager, as provided in                                       upon 90 days’ notice. PMA § 12(c).
              the Indenture or
              Preference Share Paying                                       The Portfolio Manager may avoid
              Agency Agreement.                                             removal by purchasing all Preference
              PMA § 9.                                                      Shares voting for removal (and
                                                                            Preference Shares not voting for
                                                                            removal but seeking to sell) at the
                                                                            Buy-out Amount (i.e., 12% IRR since
                                                                            the Closing Date). PMA § 12(c).

                                                                            For cause removal may be effected
                                                                            upon the Portfolio Manager
                                                                            authorizing or filing a voluntary
                                                                            petition in connection with the
                                                                            Portfolio Manager breaching the
                                                                            portfolio management agreement by
                                                                            not maximizing the value of the
                                                                            Collateral. PMA § 2(b).


              Requisite percentage of
Stratford                               The Servicer must seek to           No removal without cause. Removal          66 2/3% of Preference
              Preference Shares
CLO Ltd.                                preserve the value of the           for cause permitted by 66 2/3% of          Shares Holders. SA
              Holders may enforce
                                        Collateral for the benefit of the   Preference Shares Holders (excluding       § 14.
              obligations under
                                        securities holders. SA § 2(b).      Preference Shares held by the Servicer
              Servicing Agreement of

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CLO           Enforcement Rights         Obligation Regarding                Removal Rights                            Requisite Threshold
                                         Collateral                                                                    For Removal Rights
              Servicer, as provided in                                       and affiliates, or for which they have
              the Indenture. SA § 9.                                         discretionary voting authority, but HFP
              The Indenture references                                       may vote Preference Shares it owns up
              a Preference Shares                                            to the Original HFP Share Amount)
              Paying Agency                                                  directing the Issuer, upon 10 days’
              Agreement. Indenture                                           notice. SA § 14. For cause removal
              § 1.1 (Definitions--                                           may be effected in connection with the
              Preference Share                                               Servicer breaching the servicing
              Documents).                                                    agreement by not preserving the value
                                                                             of the Collateral. SA § 2(b).



Valhalla      [No Preference Shares or   [No Preference Shares or Class [No Preference Shares or Class E
CLO, Ltd.     Class E Certificates.]     E Certificates.]               Certificates.]



Westchester   Requisite percentage of    The Servicer must seek to           No removal without cause. Removal         Majority of Voting
CLO, Ltd.     Preference Shares          preserve the value of the           for cause permitted by Majority of        Preference Share
              Holders may enforce        Collateral for the benefit of the   Voting Preference Shares Holders          Holders. SA § 14.
              obligations under          securities holders. SA § 2(b).      directing the Issuer, upon 10 days’
              Servicing Agreement of                                         notice. SA § 14. For cause removal
              Servicer, as provided in                                       may be effected in connection with the
              the Indenture or                                               Servicer breaching the servicing
              Preference Share Paying                                        agreement by not preserving the value
              Agency Agreement. SA                                           of the Collateral. SA § 2(b).
              § 9.




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